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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          SUSAN PASKOWITZ, individually                    CASE NO. C17-0992-JCC
            and on behalf of all others similarly
10          situated,                                        MINUTE ORDER
11
                               Plaintiff,
12                  v.

13          RIGHTSIDE GROUP, LTD., et al.,
14                             Defendants.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This matter comes before the Court on parties’ stipulated notice of resolution of
19   Plaintiff’s attorneys’ fees claim (Dkt. No. 10). The Court acknowledges receipt of parties’ notice
20   of resolution and DIRECTS the Clerk of Court to vacate the status conference scheduled for
21   November 7, 2017 (Dkt. No. 4) and terminate the case.
22          DATED this 23rd day of October 2017.
23

24                                                         William M. McCool
                                                           Clerk of Court
25
                                                           s/Tomas Hernandez
26                                                         Deputy Clerk



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